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                                        JAMES J. CONTINO
                                  (Address deleted by defense counsel)



September 28, 2021

Re:     Thomas Sibick
        Application for Pretrial Release on Bond

United States District Court for the District of Columbia

This letter is sent in support of Thomas Sibick’s application to the Court for pretrial release on bond.

Mr. Sibick is my wife’s nephew, and I have known him since birth. Family, both immediate and
extended, is a central pillar to which he has been moored his entire life. Over the years Thomas Sibick
has consistently embraced his obligations and acknowledged the consequences of his actions.

In knowing and observing him over the years, he is not a person prone to violence. Further, in my
opinion he will not flee if released from incarceration pending trial.

Very truly yours,


James J. Contino
